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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                        CASE NO.: 22-CR-20104-MARTINEZ/BECERRA


   UNITED STATES OF AMERICA,

   vs.

   MARIO A. PALACIOS PALACIOS,
   ____                        /

         DEFENDANT’S MOTION TO DISMISS COUNT 2 OF THE SECOND
     SUPERSEDING INDICTMENT AND SUPPORTING MEMORANDUM OF LAW.


          Defendant MARIO A. PALACIOS PALACIOS, pursuant to Rule 12(b)(3)(B) of the

   Federal Rules of Criminal Procedure, the Fifth and Sixth Amendments to the Constitution, and the

   additional authorities set forth in the incorporated memorandum of law, requests that this Court

   dismiss Count 2 of the Second Superseding Indictment (the “Indictment”) against Mr. Palacios

   based upon the Indictment’s failure to allege every element of the charged offense (specifically,

   the jurisdictional element) as required by law.

          Mr. Palacios’s motion is based on the following grounds:

          1.      Mr. Palacios is charged in a two-count indictment. Count 1 charges him (and two

   co-defendants) with providing material support or resources to carry out a violation resulting in

   death, in violation of 18 U.S.C.§ 2339A(a). Count 2 purports to charge them with conspiring to

   kill or kidnap outside the United States, in violation of 18 U.S.C.§ 956(a)(1). The charges stem

   from Mr. Palacios’s alleged involvement in the assassination of the former President of Haiti,

   Jovenel Moise, on July 7, 2021.

          2.      In pertinent part, Count 2 specifically charges that: “Beginning in and around June


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   of 2021 and continuing through on or about July 7, 2021, in Miami-Dade County” and “in a place

   outside the United States, including Haiti,” Mr. Palacios and other persons, “at least one of whom

   having been within the jurisdiction of the United States,” did knowingly and intentionally

   conspire “to commit at a place outside the United States, acts that would constitute murder and

   kidnapping if these crimes were committed” in the United States, that is, the murder and

   kidnapping of the President of Haiti, “and one or more conspirators did commit one or more acts

   within the jurisdiction of the United States, to effect the purpose and object of the conspiracy”

   (emphasis added). The Indictment does not allege any specific overt act committed by anyone

   anywhere.

          3.      To sustain a conviction under Section 956, however, the governing statute requires

   additional averments and proofs. Specifically, the statute provides that: “Whoever, within the

   jurisdiction of the United States, conspires with one or more other persons, regardless of where

   such other person or persons are located, to commit at any place outside the United Sates” an act

   that would constitute “murder, kidnaping or maiming” if committed in the United States, “shall, if

   any of the conspirators commits an act within the jurisdiction of the United States to effect any

   object of the conspiracy,” be punished under the statute (emphasis added). See 18 U.S.C.§

   956(a)(1).

          4.      Contrary to the express requirements of the statute, the Indictment fails to allege

   that Mr. Palacios engaged in the conspiracy while he was within the jurisdiction of the United

   States. Contrary to the requirements of the law, the Indictment fails to allege that Mr. Palacios,

   having joined the conspiracy, participated in it while within the jurisdiction of the United States.

   The Indictment ignores the jurisdictional element of the offense it must allege and prove at trial.


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   It takes the “[w]hoever, within the jurisdiction of the United States” language out of the statute.

   The statute’s jurisdictional language, however, cannot be deemed mere surplusage. Cf. United

   States v. Mustafa, 753 Fed. Appx. 22, 29 (2d Cir. 2018) (similar “within the Unites States”

   language in predecessor version of 18 U.S.C.§ 2339A [Count 1 here] “did not provide for

   extraterritorial jurisdiction” and was removed in 2001 to “to expand the statute’s territorial

   reach”).

           5.      As drafted, the Indictment would improperly permit Mr. Palacios to be convicted

   of the Section 956 offense without proof that he was a member of the conspiracy during some

   period of time while he was in the United States. This is no trivial matter. The government knows

   that Mr. Palacios never set foot in the United States or had any presence in this country until he

   brought here to face charges. Whatever Mr. Palacios said or did during the relevant time period,

   he did it in Haiti.

           6.      An indictment that fails to allege every element of the charged offense is

   unconstitutional. See United States v. Fern, 155 F.3d 1318 (11th Cir. 1998) (“A criminal

   conviction will not be upheld if the indictment upon which it is based does not set forth the

   essential elements of the offense”); accord United States v. Martinez, 800 F.3d 1293, 1295 (11th

   Cir. 2015) (indictment charging transmitting threatening communication insufficient because it

   failed to allege mens rea element); United States v. Stefan, 784 F.2d 1093 (11th Cir. 1986). The

   rule is necessary to notify the defendant of “the nature and cause of the accusation as required” by

   the Sixth Amendment. It also “fulfills the Fifth Amendment’s indictment requirement, ensuring

   that a grand jury only return an indictment when it finds probable cause to support all the

   necessary elements of the crime.” United States v. Gayle, 967 F.2d 483, 485 (11th Cir. 1992) (en


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   banc), cert denied, 507 U.S. 967 (1993).

          7.      Courts have held that a Section 946 conspiracy contains four elements, i.e., that: 1)

   there existed a conspiracy to commit murder kidnapping or maiming in a foreign country; 2) the

   defendant knowingly and willfully became a member of that conspiracy; 3) the defendant

   “conspired with one or more members of the conspiracy while that defendant was physically

   present in the United Sates” and 4) at least one member of the conspiracy committed an overt act

   while in the United States in furtherance of the conspiracy. See United States v. Hunter, 2018

   U.S. Dist. LEXIS 177098 (S.D.N.Y. 2018) (copy attached as an exhibit). Following a jury trial,

   the District Court in Hunter found that the government had presented sufficient evidence as to the

   “jurisdictional element” to sustain the jury’s verdict.

          8.      On appeal, the defendants’ convictions were affirmed based on the sufficiency of

   the evidence “demonstrating that [the defendants] had engaged in the conspiracy while in the

   U.S.” See United States v. Hunter, 32 F.4th 22, 26 (2d Cir. 2022) (emphasis added) (discussing

   evidence “establishing the jurisdictional element”); cf. United States v. Leija-Sanchez, 820 F.3d

   899, 901-02 (7th Cir. 2016) (per Easterbrook, J.) (Section 956 “forbids any person ‘within the

   jurisdiction of the United States’ from conspiring to commit murder abroad;” defendants who

   claimed they were in Mexico and not “within the jurisdiction of the United States” when they

   conspired with a co-defendant in the United States to kill an individual in Mexico waived or

   forfeited the argument by not objecting to the District Court’s instruction regarding the meaning

   of “jurisdiction”); United States v. Mehanna, 735 F.3d 32, 43 (1st Cir. 2013) (evidence sufficient

   to convict defendant, a U.S. citizen living in this country, of violating Section 956, which

   “proscribes conspiring in the United States ‘to commit at any place outside the United States an


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   act that would constitute the offense of murder” if the act had been committed within the United

   States,” regardless of whether “defendant’s co-conspirators are located within the United States

   or abroad.”) (emphasis added).

           9.      The Indictment here ignores the statutory requirement that Mr. Palacios must have

   conspired with one or more members of the conspiracy while he was physically present in the

   United States. The failure to allege the jurisdictional element dooms the Indictment, just as an

   indictment charging a defendant with committing a Hobs Act robbery would be invalid if it failed

   to allege an effect on interstate commerce. See 18 U.S.C.§ 1951(requiring allegation and proof

   that the defendant “in any way or degree obstructs, delays, or affects” interstate commerce).

           10.     That a Section 956 conspiracy conviction requires proof that the “defendant

   engaged in [the] conspiracy while he was physically within the jurisdiction of the United States”

   was made especially clear in the prosecution of the so-called Dirty Bomber in the Southern

   District of Florida. Thus, in United States v. Hassoun, Case No. 04-60001-CR-Cooke, the Court,

   with the government’s assent, instructed the jury that, to convict any defendant of conspiring to

   violate Section 956, “the government must prove beyond a reasonable doubt that the defendant,

   having joined the conspiracy, participated in it while within the jurisdiction of the United States.”

   It was not necessary for the government to show that the conspiracy was formed within this

   country. “The only requirement is that the conspiracy existed, and that the defendant was a

   member of it during some period of time while he was within the United States.” See Hassoun,

   No. 04-60001, DE1189:17-22 (Court’s Instructions to the Jury) (copy attached). The defendants’

   convictions in Hassoun were affirmed on appeal. See United States v. Jayyousi, 657 F.3d 1085

   (11th Cir. 2011). The instruction in Hassoun was based on the instruction given in United States v.


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   Sattar, 02-CR-00395-JGK (S.D.N.Y) (instructing jury that government had to prove that “Ahmed

   Abdel Sattar engaged in this conspiracy while he was physically within the jurisdiction of the

   United States”).

           11.     There is no Eleventh Circuit Pattern Jury Instruction for a prosecution under 18

   U.S.C.§ 956.

           12.     A seemingly dissonant statement of what the government must prove to obtain a

   conviction for a Section 956 conspiracy offense is offered in United States v. Wharton, 320 F.3d

   526 (5th Cir. 2003). In Wharton, the Court affirmed the defendant’s Section 956 conviction for

   conspiring with one person to kill another individual in Haiti. To convict someone under 18

   U.S.C.§ 956, the Court said the government must prove that: “(1) the defendant agreed with at

   least one person to commit murder; (2) the defendant willfully joined the agreement with the

   intent to further its purpose; (3) during the existence of the conspiracy, one of the conspirators

   committed at least one overt act in furtherance of the object of the conspiracy; and (4) at least one

   of the conspirators was within the jurisdiction of the United States when the agreement was

   made.” 320 F.3d at 537-38 (emphasis added). Thus, the Court did not state that the government

   must prove that the defendant was within the jurisdiction of the United States at any time during

   the course of the conspiracy.

           13.     However, whether the defendant himself was ever in the United States during the

   life of the conspiracy was never an issue in Wharton. The defendant and his co-conspirator were

   U.S. citizens living in Louisiana at all times relevant to the indictment. The defendant “took

   several trips to Haiti” with the victim before she was killed. His co-conspirator wired funds from

   the United States to him in Haiti to finance the murder, knowing that the funds would be used for


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   that purpose. Thus, even if it provided some level of authority in this jurisdiction, Wharton cannot

   be deemed to provide a definitive statement of the elements of a Section 956 conspiracy offense.

   The fundamental jurisdictional issue here was a non-issue in Wharton. It is unlikely that the

   parties even considered about that part of the definition of the offense or the corresponding jury

   instruction.

          14.     The issue presented here is strictly a matter of law. The government knows Mr.

   Palacios had never been to the United States or had contacts with anyone here until he was

   brought into this country to face prosecution. There is no factual issue concerning Mr. Palacios’s

   lack of presence in the United States. He should not have to endure a lengthy trial to await a

   judicial determination of what the government must prove to convict him of a Section 956

   conspiracy offense. Furthermore, with Court-appointed counsel representing him, the interests of

   judicial economy would seem to favor a swift resolution of this dispositive issue. The Court,

   therefore, should decide now whether the Indictment is based on a faulty understanding of the law

   and fails to allege a key element of the offense.

          15.     Request for Disclosure of Grand Jury Transcript. As it appears that the

   government may have relied on a misunderstanding of the law and an outlier definition of the

   elements of the offense when it presented this matter to the Grand Jury, Mr. Palacios requests,

   pursuant to Rule 6(e)(3)(E)(ii) of the Federal Rules of Criminal Procedure, that the government

   be required to disclose a transcript of its instructions to the Grand Jury. See Gayle, 967 F.2d at

   485. The Rule authorizes the Court to disclose a grand jury matter “at the request of a defendant

   who shows that a ground may exist to dismiss the indictment because of a matter that occurred

   before the grand jury.” Rule 6(e)(3)(E)(ii) (emphasis added). This admittedly strict standard is


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   satisfied here.

           WHEREFORE Mr. Palacios requests that the Court dismiss Count 2 of the Second

   Superseding Indictment against him.

                                                     Respectfully submitted,

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                                CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on this 21st day of November 2022, I electronically filed the
   foregoing document with the Clerk of Court using CM/ECF.

                                                     s/ Joaquin Mendez______
                                                     Joaquin Mendez, Esq.




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